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UNTl`ED STATES DISTRICT COURT m h
FOR THE FiLED gaf 7 j ne

WESTERN DISTRICT OF TENNESSEE
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UNITED STATES OF AMERICA

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cR. No. 05-2002&{$7@{`5_ ,_
W{D CF qi 'i.

VS.

DEWONNA JOHNSON ,

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

The United States Attorney’s Office applies to the Court for a Writ to haire Dewonna Johnson,
MDOC# 101327, DOB: 4/9/66, now being detained in the Central Mississippi Correctional Facility,
379-4 Highway 468, Pearl, MS 39208, appear before the I-Ionorable Diane K. Vescovo on September

19th, 2005, at 2:00 p.m. for Initial Appearance and for such other appearances as is Court may direct.

  
  
    

Respectfully submitted this 24th day of August, 2005.

Stephen C. ark
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, David .Tolley, U.S. Marshal, Western District of
Tennessee, Memphis, TN
Sheriff/Warden, Margaret Bingham (Superintendent), Central Mississippi Correctional Facility, 3794
Highway 468, Pearl, MS 39208.
YOU ARE HEREBY COMMANDED to have Dewonna Johnson, MDOC# 101327, DOB:
4/9/66, appear before the Honorable Diane K. Vescovo at the date and time aforementioned.

ENTERED this 24th day of August, 2005.

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, UNITED STATES MAGISTRATE .TUDGE

  
   

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with Fiuie 55 and/or 32(b) FFlCrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:05-CR-20092 Was distributed by faX, mail, or direct printing on
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ENNESSEE

 

David Pritchard

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Honorable J. Breen
US DISTRICT COURT

